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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS

                                               :
CAROLYN JEFFERSON, as Personal                 :
Representative for the ESTATE OF DEMETRIUS     :
WILLIAMS and DENEKA HOWARD as guardian         :
of minor D.W. and SHERIKA STEPHENSON as        :
guardian of minors J.W., H.W., and P.W. and    :
LATOYA JOHNSON as guardian of minor A.W.       :
                                               :
                          Plaintiff,           :
v.                                             :
                                               :
                                               :
COUNTY OF HARRISON, TEXAS, and                 :
                                               :
INVESTIGATOR DAVID BARNETTE, and               :
DEPUTY NELSON VALLE, and                       :
                                               :   Civil Action No.: 2:21-cv-00440
INVESTIGATOR JANSSEN MARANTO, and              :
                                               :   JURY TRIAL DEMANDED
INVESTIGATOR KEVIN JOHNSON, and                :
LIEUTENANT RONALD ENGLAND, and                 :
                                               :
INVESTIGATOR DAVID NEWSOME                     :
                                               :
200 West Houston Street                        :
Marshall, TX 75670                             :
                                               :
                                               :
                                 Defendants.   :
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                          PLAINTIFF’S ORIGINAL COMPLAINT

       NOW COMES Carolyn Jefferson as Personal Representative for the Estate of Demetrius

Williams, Deneka Howard as guardian of minor D.W., Sherika Stephenson as guardian of

minors J.W., H.W., and P.W. and Latoya Johnson as guardian of minor A.W., Plaintiffs

complaining of Defendants the County of Harrison, Texas, Investigator David Barnett, Deputy

Nelson Valle, Investigator Janssen Maranto, Investigator Kevin Johnson, Lieutenant Ronald

England, and Investigator David Newsome, and for cause would show the Honorable Court as

follows:

                                 NATURE OF THE ACTION

   1. On December 5, 2019, Demetrius Williams was shot and killed by Harrison County

       Sheriff’s Officers. Mr. Williams was operating a motor vehicle at the time he was shot

       and posed no risk of death or serious bodily injury to the officers or citizens in the area of

       the shooting. Mr. Williams was struck in the head and died an agonizing death.

   2. The Defendants’ use of lethal force was unreasonable and therefore violated Mr.

       Williams’ rights under the Fourth Amendment of the United States Constitution and

       Texas Law.

   3. Plaintiff’s claims are brought against the Harrison County Sheriff’s Officers and the

       County of Harrison pursuant to 42 U.S.C. § 1983 and the Texas Tort Claims Act.

   4. For these violations, Plaintiffs seek redress and compensation for damages and the

       wrongful death of Mr. Williams.

                                              PARTIES

   5. Plaintiff, Carolyn Jefferson id the mother of Demetrius Williams and the personal

       representative of his estate and is an adult individual and a resident of the state of Texas.
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6. Plaintiff Deneka Howard is the mother and guardian of the minor D.W. who is a natural

   heir of Demetrius Williams and is an adult individual and a resident of the state of Texas.

7. Plaintiff Sherika Stephenson is the mother and guardian of the minor children of the

   minors J.W., H.W., and P.W. who are natural heirs of Demetrius Williams and is an adult

   individual and a resident of the state of Texas.

8. Plaintiff Latoya Johnson is the mother and guardian of the minor A.W. who is a natural

   heir of Demetrius Williams and is an adult individual and a resident of the state of Texas.

9. Defendant Investigator David Barnett was at all relevant times a duly appointed officer

   with the Harrison County Sheriff’s Office Police Department.

10. Defendant Deputy Nelson Valle was at all relevant times a duly appointed officer with

   the Harrison County Sheriff’s Office Police Department.

11. Defendant Investigator Janssen Maranto was at all relevant times a duly appointed officer

   with the Harrison County Sheriff’s Office Police Department.

12. Defendant Investigator Kevin Johnson was at all relevant times a duly appointed officer

   with the Harrison County Sheriff’s Office Police Department.

13. Defendant Lieutenant Ronald England was at all relevant times a duly appointed officer

   with the Harrison County Sheriff’s Office Police Department.

14. Defendant Investigator David Newsome was at all relevant times a duly appointed officer

   with the Harrison County Sheriff’s Office Police Department.

                              JURISDICTION AND VENUE

15. Jurisdiction exists in this Honorable Court pursuant to 28 U.S.C. §§ 1331 and 1343 as

   this action is brought pursuant to 42 U.S.C. § 1983 to redress a deprivation of the Fourth

   Amendment rights of the decedent Demetrius Williams. Plaintiff further invokes the
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   supplemental jurisdiction of this Court pursuant to 28 U.S.C. § 1367 to adjudicate

   pendent state law claims.

16. Venue is proper in this Honorable Court as Defendants’ constitutional violations and

   intentional torts and otherwise violative conduct occurred within the Eastern District of

   Texas.

                               FACTUAL BACKGROUND

17. On December 5, 2019, at approximately 11:00 a.m. the members of the Harrison County

   Sheriff’s Office and the Texas Game Warden set out to execute a search warrant at the

   home of Mr. Williams on the 600 block of South Allen Street, Marshall Texas.

18. As the officers approached Mr. Williams’ home, they encountered Mr. Williams, who

   was unarmed, in the driver seat of a white minivan in a parking spot along the curb of the

   street.

19. As the officers approached Mr. Williams’ minivan, an explosion went off behind his

   home.

20. Mr. Williams then reversed his vehicle wand struck a truck parked behind him.

21. No officers were struck or injured when Mr. Williams made contact with the truck.

22. After striking the truck behind him, Mr. Williams endeavored to pull forward out of his

   parking spot.

23. As Mr. Williams began to pull forward, Investigator David Barnett, Deputy Nelson Valle,

   Investigator Janssen Maranto, Investigator Kevin Johnson, Lieutenant Ronald England,

   and Investigator David Newsome discharged their weapons into his vehicle at least 17

   times.
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24. No officers or citizens were not trapped or vulnerable to injury at the time the officers

   discharged their firearms.

25. No officers were injured or struck by Mr. Williams’ vehicle.

26. The officers were not in reasonable fear of death or serious bodily injury at the time they

   discharged their firearms because Mr. Williams’ vehicle was easily avoidable at the time

   it left the parking space.

27. The Defendant Sheriff’s officers’ use of lethal force was unreasonable and unjustified.

28. The firearms used against Mr. Williams were Harrison County issued service weapons.

29. Mr. Williams was struck by the officers’ bullets which caused him to lose control of his

   vehicle.

30. The Defendant Sheriff’s unreasonable use of lethal force upon Mr. Williams a caused

   him pain, agony, and death.

                                WRONGFUL DEATH ACTION

31. Plaintiffs hereby bring Wrongful Death claims in the Counts infra pursuant to 4 Tex.

   Civ. Prac. & Rem. § 71.001 et seq. (“the Texas Wrongful Death Statute”), on behalf of all

   those persons entitled by law to recover damages as a result of the wrongful death

   of Demetrius Williams.

32. No other action has been brought to recover for Mr. Williams’ death under the

   aforementioned statute.

33. Plaintiffs claim all available damages under the Texas Wrongful Death Statute for

   financial contributions and the loss of future services, support, society, comfort, affection,

   guidance, tutelage, and contribution that the Plaintiff’s decedent, Demetrius Williams,
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     would have rendered to the wrongful death beneficiaries but for his traumatic, untimely

     and unnatural death.

 34. Plaintiffs claim damages for payment for all medical bills and/or expenses.

 35. Plaintiffs claim damages for payment of funeral and burial expenses.

                                     SURVIVAL ACTION

 36. Plaintiff Carolyn Jefferson, Personal Representative of the Estate of Demetrius Williams,

     deceased, also brings Survival claims in the Counts described infra under

     the Texas Survival Statute, 4 Tex. Civ. Prac. & Rem. § 71.021 et seq. (“the Texas

     Survival Statute”), for all damages recoverable under the Statute, including but not

     limited to, loss of income both past and future income potential, as well as, pain and

     suffering prior to death, and for emotional distress suffered by Plaintiffs’

     decedent, Demetrius Williams, from the initiation of the assault upon him until the

     his death.

           COUNT I: 42 U.S.C. § 1983 FOURTH AMENDMENT VIOLATION

Plaintiffs v. Investigator David Barnett, Deputy Nelson Valle, Investigator Janssen Maranto,
 Investigator Kevin Johnson, Lieutenant Ronald England, and Investigator David Newsome

 37. Plaintiffs hereby incorporate all preceding paragraphs as if fully stated herein.

 38. The Defendants Investigator David Barnett, Deputy Nelson Valle, Investigator Janssen

     Maranto, Investigator Kevin Johnson, Lieutenant Ronald England, and Investigator

     David Newsome intentionally discharged their firearms at Demetrius Williams.

 39. The Defendants Investigator David Barnett, Deputy Nelson Valle, Investigator Janssen

     Maranto, Investigator Kevin Johnson, Lieutenant Ronald England, and Investigator

     David Newsome were not at risk of serious bodily injury or death at the time they

     discharged their firearms.\
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   40. The Defendants Investigator David Barnett, Deputy Nelson Valle, Investigator Janssen

       Maranto, Investigator Kevin Johnson, Lieutenant Ronald England, and Investigator

       David Newsome were acting under color of state law.

   41. The Defendants Investigator David Barnett, Deputy Nelson Valle, Investigator Janssen

       Maranto, Investigator Kevin Johnson, Lieutenant Ronald England, and Investigator

       David Newsome use of lethal force was unreasonable.

   42. The Defendants Investigator David Barnett, Deputy Nelson Valle, Investigator Janssen

       Maranto, Investigator Kevin Johnson, Lieutenant Ronald England, and Investigator

       David Newsome unreasonable use of force caused Demetrius Williams to suffer extreme

       and severe pain, agony and death.

   WHEREFORE, Plaintiffs demand judgment in their favor, and against Defendant

Investigator David Barnett, Deputy Nelson Valle, Investigator Janssen Maranto, Investigator

Kevin Johnson, Lieutenant Ronald England, and Investigator David Newsome pursuant to 42

U.S.C. § 1983, in an amount in excess of One Million Dollars ($1,000,000) including interest,

delay damages, costs of suit, general and specific damages, including both survival and wrongful

death damages, exemplary damages as provided by law, attorneys’ fees under 42 U.S.C. § 1985

and 1988, and any other remedies legally appropriate.

           COUNT II – Tex. Civ. Prac. & Rem. Code Ann. § § 101.021 & 101.025
                          Plaintiff v. County of Harrison Texas

   43. Plaintiffs hereby incorporate all preceding paragraphs as if fully stated herein.

   44. The Defendant Officers discharged their Harrison County issued firearms without

       justification.

   45. The firearms used by the Defendant Officers are the tangible property of the County of

       Harrison, Texas.
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46. Demetrius Williams suffered pain, agony, and death as a result of the use of the County

   of Harrison’s tangible property.

47. If the conduct that caused Demetrius Williams pain, agony and death were engaged in by

   a private person, Defendants would be liable under Texas Law.

48. Plaintiff would show specifically, the Defendant Officers used their Harrison County

   issued firearm and recklessly discharged them and struck Demetrius Williams.

49. Plaintiff would show such actions of the Defendant Officers, were they private persons,

   would be liable to Plaintiff under Texas Law.

   WHEREFORE, Plaintiff demands judgment in his favor, and against Defendant County

of Harrison, Texas pursuant to Texas Law in an amount of One Million Dollars ($250,000)

and any other remedies legally appropriate.




                                                Respectfully submitted,



                                                /s/ John J. Coyle
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                                                pro hac vice motion forthcoming
